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              UNITED STATES DISTRICT COURT
                               Eastern District of California
     Petition to Modify the Conditions or Term of Supervision
                   with Consent of the Offender
                        (Probation Form 49, Waiver of Hearing, is on file)

Name of Offender:      Brenda Gail Deshields                Docket Number:      0972 2:10CR00299

Name of Judicial Officer:      Honorable William B. Shubb

Date of Original Sentence:     10/7/2013

Original Offense: 21 U.S.C. § 856(a)(2) Maintaining Drug-Involved Premises    (Class C Felony)

Original Sentence: Time Served, 3 years Supervised Release, $100 Special Assessment; Mandatory
Testing, No Firearm, DNA Collection

Special Conditions: Warrantless Search, Financial Disclosure, Financial Restrictions, Drug/Alcohol
Treatment, Drug/Alcohol Testing, No Alcohol, Mental Health Treatment, Aftercare Co-payment,
Registration (sex/drug/arson)

Type of Supervision:     TSR

Date Supervision Commenced:        10/7/2013

Other Court Actions:
05/12/2015:    Prob 12B Modification adding special condition number 11 for residential
               substance abuse treatment.




                                   PETITIONING THE COURT

To modify the conditions of supervision as follows:

   10 The defendant shall reside and participate in a residential community corrections center, to be
      determined, for a period of 60 days. Said placement shall commence on or before August 6, 2016
      pursuant to 18 U.S.C. § 3563(b)(11). The defendant shall pay the cost of confinement as
      determined by the Bureau of Prisons.




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Justification: Deshields has nearly completed her three year term of supervision. She completed
residential treatment in June 2015. Since that time, Deshields has been generally compliant, except for
drug testing. Deshields’ first urine sample following her discharge from residential treatment was deemed
“not consistent with human urine.” She denied tampering with her urine specimen and continues to deny
it today. This specimen was followed by seven unexcused missed tests through December 2015. Her
testing habits improved in 2016, with only one unexcused missed test. On April 16, and May 21, 2016,
Deshields submitted a urine specimen that was diluted. On May 14, and June 8, 2016, she submitted urine
specimens which tested positive for methamphetamine.

Deshields was confronted with her positive tests and possible efforts to tamper with her specimens that
resulted in the diluted tests. She adamantly denied any illegal drug use. She did admit, however, that she
took some of her son’s prescription drugs when she ran out of hers, none of which would have tested
positive for methamphetamine.

Since Deshields has just over three months of supervision remaining, it is recommended she be placed at
a Residential Re-Entry Center for the last 60 days of her supervision. She would continue to receive
substance abuse testing and treatment, and maintain her mental health and prescription drug regimen
without disruption. This plan would address the violations of drug use, missed tests, and diluted
specimens. She has agreed to this modification and signed the corresponding waiver of hearing and
modification form. Deshields has been warned that any further evidence of illegal drug use will result in
a recommendation for revocation and prison time.




                                                      Respectfully submitted,
                                                      /s/ Dayna D. Ward


                                                      Dayna D. Ward
                                                      United States Probation Officer
                                                      Telephone: 916-531-0320
DATED:        6/24/2016
                                                      Reviewed by,
                                                      /s/ Michael A. Sipe


                                                      Michael A. Sipe
                                                      Supervising United States Probation Officer




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THE COURT ORDERS:

☒ Modification approved as recommended.

Dated: June 24, 2016




CC:

United States Probation

Assistant United States Attorney: Daniel McConkie

Defense Counsel: Danny Brace




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